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                                                                              FILED by         ' D.C .

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                                                                                STEVEN M LARSMORE
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     UNITED STATES OF AM ERIICA
     Ex rel.and ELROY A .K A LM E,
                                                                              C/y-pNcu o
            Relator,                              FIL E D U N D E R SEA L



     LA RK IN CO M M UN ITY H OSPITA L,IN C.,
     a Florida Corporation,


            D efendant.


                           OUITAM RELATOR 'S COM PLAINT

                   Thisis an action which arisesunderthe False ClaimsAct,31U.S.C jj
     3729-33.

            2.     Jurisdictionisfoundedon28jjU.S.C.1331,1345and 31U.S.C.j3372.
            3.      K ALM E w as and is a residentof M iam i-llade County,Florida and has

     been atal1tim esrelevantto thisCom plaint.

            4.     LA RK IN is a Florida corporation thattransacts business in M inm i-D ade

     County,Florida.

            5.     ThisCourthaspersonaljurisdiction overLARKIN asLARKW islocated,
     can be found in,and continues to transactbusiness in the Southem Districtof Florida.

     A dditionally, LAR KIN m ade, used or caused to be m ade or used false records in this
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     district to get false or fraudulent claim s paid or approved by the U nited States

     govenunent.

            6.     Pursuantto 31U.S.C.j3730 (b)(2),acopy oftheComplaintandwritten
     disclosure of substantially all the m aterial evidence and infonnation in K A LM E 'S

     possession has or w illbe served on the United States Attorney for the Southern D istrict

     ofFlorida sim ultaneously w ith the instantCom plaint.

                                                 V ENU E

            7.     Venue isproperin thisdistrictpursuantto 28 U.S.C.j 1391(b)and 31
     U.S.C.j3732 (a)becauseLARKIN can befoundinand hastransactedbusinessrelating
     to this m atter in the Southern D istrict of Florida and the claim arose in the Southern

     D istrictofFlorida.

            8.      Because of the acts com m itled against the people of the U nited States,

     IQALM E has obtained the legalservicesof the undersigned counselto protectand secure

     hislegalrights for allallegations and claim s raised in this m atterand has agreed to pay a

     reasonable fee forservices.

                                                  FA CTS

            9.      LA RK FN is in the business of providing hospital care and other m edical

     servicesto m em bersofthe public in the South Florida area.

                    LA RK IN has a facility in the South Florida area.

            11.     LA RK IN is com pensated by the Federal governm ent's M edicare and

     M edicaid program s.

            12. ThemajorityofLAltlom 'spatientsareMedicarepatients.




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                    The R elator,Elroy A .Kalm e,w as a Podiatric Physician w ho w orked for

     LARK IN starting in 1997. In 1998 K ALM E founded the Larkin Com m unity Hospital

     Podiatry Residency Progrnm . KA LM E also served as the M edical D irector of the

     Podiatry Departm ent, Podiatric M edicine & Surgery Residency Program Director,

     A ssistant D irector of Podiatric M edical Education, m em ber of the M edical Executive

     Com m ittee, and also the D irector of Research Education, Director of Externships,

     Residency Program Coordinator,and Podiatric ClinicalEducation ProfessoratLA RKIN .

            14.    LARK IN term inated K A LM E on January 9,2012.

                   D uring K ALM E'Stenure as a podiatric physician forLARK IN from April

      1997 through on or aboutJanuary 9,2012,he repeatedly observed violations of the law

     pertaining to M edicare and M edicaid billing.

            16.    M any of the m edical professionals and individuals who w ork at

     LA ItK 1N 'S facilities, acting on behalf of LA RKIN , overcharged the United States

     governm entforM edicare and M edicaid patients.

                   ln 2010,LA RK IN 'S President,Chief Executive O fticer,and Chairm an of

     the board, D r. Jack J. M ichel, selected a new Chief Executive Officer, Sandra Sosa-

     Guerrero.

                   ln 1997 Congressestablished Evaluation and M anagementCoding (E/M
     Coding)guidelines for documenting medicaltreatmentassociated with Medicare and
     M edicaid patients in addition to private patient analysis. LA RK IN w as obligated to

     follow these guidelines in order to seek and obtain com pensation for M edicare and

     M edicaid patients.
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                   ln 2010,K A LM E w as the head of the Podiatry D epartm ent and of the

     podiatry residents' program at LA RK IN . On June 23, 2010 a group of second-year

     podiatryresidentsmetwithKALME and infonnedhim (KALM E)thatPhysician# 1was
     tiling false claim s to M edicare and M edicaid since patient encounters w ere only taking

     place by the first-yearpodiatry residentw ho w ere also com pleting allinitialconsultnote

     doctlm entation and follow -up progress notes docum entation for Physician # 1. The

     residents told K A LM E thatPhysician # 1 altered patientrecordsto falsely reflectthatthe

     notes prepared by the residents w ere entered into the record by Physician # 1. The

     residents w ere concerned about being im plicated in a M edicare fraud schem e and

     dem anded thatthey notbe involved w ith treating patientsunderPhysician # 1.

            20.    A fter investigating the m atler, KA LM E confirm ed that LA RX IN 'S

     physicians, such as Physician # 1, defrauded the governm ent by having residents not

     authorized or qualified to com plete lnitialconsultation notes or progress notes and other

     inform ation entered into patient notes in the charts and then claim them as his ow n.

     Physician # 1 often crossed out the title of patientnotes prepared by a resident and then

     w rote overthe notesto m ake itappearthatthey w ere his own. Physician # 1 som etim es

     m ade these entries w eeksoreven m onthsaftera patienthad been seen by a resident.

                   O n A ugust 16, 2010 during a podiatry m eeting lecture, a first-year

     podiatry residenttold K A LM E thatPhysician # 1,offered podiatry residentsvarious gifts

     in exchange forproviding a supply ofpatientsthatcould undergo application ofgrafts to

     their low er extrem ity wounds into the Operating Room from the assisted living facilities

     and nursing hom e population w ho needed surgery to LARK W w hile adm itted at Larkin.

     The gifts included cash,food,and baroutings from the representative from the X enograft
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     Com pany thatw assupplying the gifts. The residenttold K A LM E thatthe offerhad been

     m ade to another doctor as w ell. The residentalso told K ALM E thatPhysician # 1 w as

     notw riting hisow n attending physician m edicalnotes on a11patients,including M edicare

     patients,and w as billing M edicare for services notrendered. Dr.M ccoy told K A LM E

     that these actions w ere being taken by Physician # 1 to ensttre that a high volum e of

     patientsw ould be m aintained.

            22.    On A ugust 17,2010 K ALM E advised LA RK IN 'S Chainuan,Dr.Jack J.

     M ichel,ofthe concernsaboutPhysician # 1 expressed by the podiatry residents asw ellas

     concerns that Physician # 1's actions w ere contrary to CM S federal guidelines and

     guidelines under the Council on Podiatric M edical Education rules and regulations for

     G raduate M edicalEducation. Jack M ichelrequested thatK ALM E investigate the m atter

     and reportback to him .Dr.M ichel also told KA LM E tsdo not callm e on the phone to

     tellm e about situations and problem s thatdealw ith the possibility of fraud or M edicare

     problem s and don't send m e any e-m ails w ith stuff like this because you know the

     governm entcan getinto m y hospitalm ailand listen to the conversations.''

                        a result of his investigation, K ALM E discovered that LA RK IN

     m isused the m edical transcription services of the Trans Dyne Com oration. D octors

     w ould call in to this system to dictate patient notes. A num ber or identifying code w as

     assigned to each patientnote.

                   LARK IN 'S physicians w ould often call in to the Trans D yne system ,

     obtain an identifying code, but then w ould not com plete, or in som e cases failed to

     provide any content whatsoever to a patient note. One of LA RK IN 'S directors w ould

     routinely call into the Trans D yne system utilizing physician identification num bers,




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     obtain amedicalnoteidentifyingcodetjob number''offtheTransDynesystem,thenuse
     theSjobnumber''toidentifyafraudulentlygeneratedmedicalnoteby hisorherownself,
     using saved recycled notes offher own com puter,then placed those notes in the patients'

     m edical chart in order to know ingly bill M edicare and M edicaid for services never

     rendered by LAR K IN 'S physicians. These notes w ere generated in order to provide the

     false im pression thatpatientsw ere being treated by a physician.

            25.    W hile review ing the patientscharts and evaluating his own m edicalnotes,

     K ALM E noticed thathis ow n progress notes,which he usually com pleted during the day

     butrevised in the w ee hoursofthe m om ing,had a tim e stam p thatw asnearly identicalto

     the patientnotes w hich w ere purportedly prepared by other doctors. H ow ever,K ALM E

     did not observe any of those doctors on duty treating patient or dictating notes at

     LA RK IN atthe sam e tim e reflected on the dictated m edicalnotes.

            26.     K ALM E questioned Larkin's staffas to w hen these doctorshad com pleted

     their patient notes. KA LM E asked a staff m em ber about these physicians. The staff

     m em ber told him ûttoo m any things w ere going on''and that he should stay out of the

     m atter. The staffm em beralso told KA LM E thatD irector# 1 w asthe one thatdealtw ith

     those doctors and they supposedly cam e only very late atnight.'' W hen asked to explain

     the com m ent,the staff m em ber told K ALM E notto w orl'y aboutit. K ALM E began to

      stay atLARK IN until5:00 a.m .and did notsee the doctors who had supposedly seen and

     prepared patient notes in the m iddle of the night. KA LM E asked several other staff

     m em bers w hether they had seen these doctors w rite patient notes the night before or in

     the w ee hours and the answ erw as alw aysûtno.''




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            27.     O ver tim e, K A LM E noticed that a 1ay person w ould regularly go to

     LARKIN'SHealth lnformation M anagement(HIM)office atdifferenttimesoftheday,
     pick up files that appeared to be patient notes,and then leave. A fter researching the

     m atler,KA LM E detennined thatthe car that the layperson anived belonged to a doctor

     who w orked atLAR KIN .

            28.     LA RK FN 'S podiatry residents did not follow docum entation guidelines as

     required under M edicare's Graduate M edical Education patient contact requirem ents in

     Teaching Hospitalsby failing to generate their ow n patienttreatm entnotes. lnstead,they

     w ould copy verbatim textfrom physicians'notes and other residents'rather than take to

     the tim e to visit the patient then preparing patients' notes for each patient that w ere

     specitic to that particular patient. The residents were not directly providing treatm ents,

     providing w ound care,and w ere nothaving patientcontact.

                    LA RK IN form ed partnerships w ith various A ssisted Living Facilities

     (ALF's)toassurethatpatientsfrom certainALFSwereadmitted toLARKIN formedical
     services even ifthey did not m eet the criteria. LAR KIN did this by altering laboratory

     testsandadjustingthediagnosesinordertomaintainthepatientatthehospital.
            30.     Several of LAR KIN 'S doctors w ould alter diagnoses based on lab data

     available, using the highest paid D RG 'S at the tim e, to assure that patients w ould be

     adm itted. These patients w ere co-m anaged by the professional association of one of

     LA RK IN 'S doctors. D irector # 1 would asslzre thatpatients from a few doctors had their

     diagnoses changed from a m edicaldiagnosesto a psychiatric diagnoses in orderto assure

     thatthe patients w ould be adm itted after notm eeting criteria in the Em ergency Room to

     be adm itted to the m edicalfloors.




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            31.    LA RK IN also billed M edicare forspinalim plantm aterials thatw ere never

     im planted and overcharged M edicare forfacetfusion trays.

                   LA RK IN allowed podiatry residents to schedule patients for slzrgical

     procedures that w ere not m edically necessary sim ply to bill M edicare. For exam ple,

     LARK IN routinely billed M edicare for excisionaldebridem ents,nm putations,resections

     of bone and other tm necessary or contra-indicated applications of grafts in order to

     overbillM edicare underthe servicesofPhysician # 1.

                   LA RK IN overbillsthe M edicare Graduate M edicalEducation program for

     Teaching Hospitalsby falsely claiming one (1)FullTime Equivalent(FTE)on every
     resident to m axim ize ûtM edical Education''reim bursem ent under the M edicare annual

     costreport.

            34.    LA RK FN 'S H ea1th lnform ation M anagem ent oftice em ployees,under the

     direction and assistance ofK enia M endoza,utilizing a system atic schem e,m anually and

     electronically signed and sign deticientM edicare and M edicaid patientnotes,orders,and

     docum ents records w ithoutthe physicians'know ledge to achieve com pliance w ith CM S

     requests for records during RA C and other review s, A HCA inspections,and JCA H O

     accreditation surveys,and in orderto defraud M edicare and billform edicalservicesthat

     would otherwise notbe reim bttrsed because ofthe deficiencies and hence preventrefund

     requests by CM S.

            35.    LA RK IN and Dr.Jack M ichelunderLarkin lm aging and A ssociates,LLC

     holds an im properrelationship w ith V irtuallm aging Services,lnc.in w hich the im proper

     inform ation of ow nership, financial or controlling interest has been deliberately




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     concealedin orderto operatetheIndependentDiagnosticTesting Facility (IDTF)andbe
     ableto im properly billM edicare,M edicaid,and other com panies.

            36.     LA RK IN em ploys physicians and other m edical or adm inistrative

     professionalswhochargeorseekreimbursementfrom M edicareandM edicaid(onbehalf
     of(LAM m ).
                    From approxim ately 2010, LARK IN has system atically defrauded

     M edicare and M edicaid, m ost probably for a total of m illions of dollars by claim ing

     reim bursem ent forthousands ofpatients notdirectly treated by physicians for w hom the

     properm edicaltranscription w as notconducted,false notes w ere generated,orchanging

     m edical diagnoses to up-code and increase the DRG , overcharging for procedures that

     w ere notneeded,orchanging m edicalrecordsto allow for patientsw ho did nototherwise

     m eetthe criteria foradm ission to be adm itted.

            38.     LA RK IN 'S actionsw ere carried outsolely to m axim ize protits illegally at

     the expense of the M edicare and M edicaid program s,and ultim ately,the people of the

     UnitedStatesandnotforamedicallyjustifiablepurpose.




                                              C O U NT l
                                      VIOLATION OF31U.S.C.$3729
             (FALSEORFRAIJDULENTCLAIMSMADETO THEUM TEDSTATESGOVERNMENT
                                FoRPAYMENTORAPPROVAL)

            39.     From approxim ately 2010 and continuing through and including the

     presentdate,em ployeesand/oragents acting on behalf ofLA RK IN ,know ingly presented

     to an officer or em ployee of the U nited States governm ent,via nonnal adm inistrative
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      channels of the M edicare and M edicaid program s,num erous false or fraudulent claim s

      for paym ent or approval;and/or know ingly m ade,used,or caused to be m ade or used,

      num erous false records or statem ents to get false or fraudulent claim s paid or approved

      by the United States govenunent; and/or conspired to defraud the U nited States

      governm entby getting false orfraudulentclaim sallow ed orpaid.

                     ln com m itting the acts and om issions averred in this Com plaint,LA RK IN

      violated the False Claims Ad,31 U.S.C.j 3729 (a)(1),by knowingly presenting or
      causing to be presented to an ofticerorem ployee ofthe U nited Statesgovenunenta false

      orfraudulentclaim forpaym entorapproval.

             41.     ln addition,LARKIN has violated the False Claims Act,31 U.S.C.j
      3729(a)(2)by knowingly making,using orcausingto bemadeorused afalserecord or
      statem ent to get a false or fraudulent claim paid or approved by the U nited States

      governm ent.

             42.     ln addition,LARKIN has violated the False Claims Act 31 U.S.C.j
      3729(a)(3),byknowinglymaking,using,orcausingtobemadeorused,afalserecordor
      statem ent to conceal, avoid or decrease an obligation to pay or transm it m oney or

      property to the U nited States govenunent.

             43.     To the extent,if any,thatthis case is deem ed to be a related action and

      thatfacts setforth herein are deem ed to the snm e as facts underlying an existing quitam

      False Claim s Act action pending at the tim e of filing this action,as prohibited by 31

      U.S.C.j 3730(e)(3),then said factualallegationsin common with the pending action,
      which would cause this to be a related cause ofaction,are hereby expressly excluded

      from thisaction,butonly to the lim ited extentnecessary to exclude such preem ption.




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                    Further, to the extent thatthe allegations or transactions set forth herein

      arethesubjectofan existing civilsuitoradministrativecivilmoney penalty proceeding
      in w hich the U nited States governm ent is already a party, then the allegations or

      transactionsreferred to herein which are the subjectofany civilsuitoradministrative
      civil m oney penalty proceeding are expressly excluded here from , but only for the

      specific tim e periods and specific allegationsortransactions asnecessary.

             45.    Pursuantto 31U.SC.j 37294a),Defendantisliableto theUnited States
      governm entfora civilpenalty ofnotlessthan $5,000 and notm orethan $10,000 foreach

      violationoftheFalseClaimsAct,plusthree(3)timestheamountofdamageswhichthe
      U nited States sustainsortines LA RKIN because ofthe actsofLA RK IN .

             W HEREFORE,on behalf of the United States,KALM E demands judgment
      againstLARKIN foracivilpenalty of$10,000 perfalseclaim,plusthree (3)timesthe
      am ount of dam ages that the United States governm ent sustains because of LARK FN 'S

      acts,pursuantto 3lU.S.C.j 3729.
                                    ,reasonableexpenses,attorney'sfeesand costs,and
      that this H onorable court deem s necessarily incurred pursuant to             U.S.C. j
      3730(d)(1)(2),and such other relief as may be deemed equitable and justunder the
      circum stances.

                                     D EM A N D FO R JU R Y T RIAL

             IQALM E demandsatrialbyjuryonallissuestriableasamatlerofright.


                                                  Respectfully subm itted,



                                                  Gary A Co G le
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                                         Flolida BarN o.0948829

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